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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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LEONIDES DUVERNY,
Plaintiff, : 18cv7652 (DLC)
-V- : ORDER
HERCULES MEDICAL P.C., and HYPWEION
MEDICAL P.C., and ACHILLES MEDICAL
P,Cc., and GEOFFREY RICHSTONE,
individually,
Defendants.
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DENISE COTE, District Judge:

A jury trial in this matter is scheduled to begin on
November 9, 2020 at 9:30 a.m. Two witnesses, defendant Geoffrey
Richstone and Dr. Charles McGowan, have been permitted to
testify via simultaneous video transmission. It is hereby

ORDERED that, by 9:30 a.m. on November 9, the parties shall
advise the Court of the date and time at which Mr. Richstone and
Dr. McGowan will be called to testify.

SO ORDERED:

Dated: New York, New York
November 5, 2020

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ENISe COTE
United States District Judge

 
